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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


IN RE PHARMACEUTICAL INDUSTRY                              MDL. No. 1456
AVERAGE WHOLESALE PRICE
LITIGATION

THIS DOCUMENT RELATES TO:
                                                           CIVIL ACTION: 01-CV-12257-PBS
TRACK 2 SETTLEMENT
                                                           Judge Patti B. Saris



                [PROPOSED] ORDER REGARDING CLASS PLAINTIFFS’ MOTION
                 FOR APPROVAL OF FORM AND MANNER OF NOTICE TO CASH
                  PAYING CONSUMERS IN CLASS 3, APPROVAL OF CONSUMER
                 CLAIMS SCHEDULE, AND TO RESCHEDULE DATE FOR FINAL
                       APPROVAL OF THE TRACK TWO SETTLEMENT


            The Court, having considered Class Plaintiffs’ Motion for Approval of Form and Manner

of Notice to Cash Paying Consumers in Class 3, Approval of Consumer Claim Schedule, and to

Reschedule date for Final Approval of the Track Two Settlement (“Plaintiffs’ Motion”), hereby

orders the following:

                  1. The manner of notice to cash payors as outlined in Exhibit 1 to Plaintiffs’ Motion

                      is hereby approved;

                  2. The form of notice to cash payors as outlined in Exhibits 2 and 3 to Plaintiffs’

                      Motion is hereby approved;

                  3. The schedule requested in Plaintiffs’ Motion, as set forth below, is hereby

                      approved and shall be made available on the Track Two Settlement website

                      within 3 business days of the entry of this Order;




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                         Event                                            Revised Date

 Filing of Materials in Support of Final
                                                        December 1, 2009
 Approval including Attorneys Fees
 Filing of Request for Exclusion                        Postmarked by December 15, 2009
 Filing of Notice of Intention to Appear at
 Fairness Hearing Stating Reasons for                   December 15, 2009
 Opposition to Proposed Settlement Filed
 Responses to Opposition to Proposed
                                                        January 4, 2010
 Settlement Filed
                                                        _________, 2010 [[TBD by the Court (on or
 Final Approval Hearing
                                                        after Jan. 15, 2010)]]
 Filing of Claim (Consumer Class Members
                                                        February 1, 2010
 Only)


            The Court’s continuance of the final approval hearing and the establishment of deadlines

set forth above shall not extend TPP Settlement Class Members’ deadlines to opt-out of the

Track Two Settlement and Release, or to file claims. The Court’s January 7, 2009 Order

Revising Certain Dates Related to the Track Two Settlement set March 16, 2009 as the deadline

for TPP Settlement Class Members’ to opt-out of the Track Two Settlement. Any TPP who did

not opt-out of the Track Two Settlement on or before March 16, 2009 are TPP Settlement Class

Members whose claims will be released by the Track Two Settlement and Release.




Dated: _____________________                                     ___________________
                                                                 Patti B. Saris
                                                                 United States District Judge




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